Case 2:14-md-02592-EEF-MBN Document 5113-27 Filed 01/20/17 Page 1 of 7




                      Exhibit 20
        FILED UNDER SEAL
Case 2:14-md-02592-EEF-MBN Document 5113-27 Filed 01/20/17 Page 2 of 7
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  1                  UNITED STATES DISTRICT COURT
  2                  EASTERN DISTRICT OF LOUISIANA
  3
  4    IN RE:     XARELTO (RIVAROXABAN)        MDL No. 2592
       PRODUCTS LIABILITY LITIGATION
  5                                            SECTION L
  6    _____________________________           JUDGE FALLON
  7    THIS DOCUMENT RELATES TO:               MAG. JUDGE NORTH
  8    JOSEPH ORR, JR., AS LAWFUL
       SURVIVING SPOUSE OF SHARYN ORR
  9
       Case No. 2:15-CV-03708
 10
 11
 12       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW
 13
 14                          NOVEMBER 28, 2016
 15
 16                                  - - -
 17                  Videotaped deposition of GIANLUCA CERRI,
       M.D., FACEP, FAAEM, held at Perry Dampf Dispute
 18    Solutions, 721 Government Street, Baton Rouge,
       Louisiana, commencing at 9:58 a.m., on the above
 19    date, before Leslie B. Doyle, Certified Court
       Reporter (#93096), Registered Professional Reporter,
 20    Certified Realtime Reporter.
 21
 22                                  – – –
 23                     GOLKOW TECHNOLOGIES, INC.
 24                 877.370.3377 ph|917.591.5672 fax
 25                           deps@golkow.com

Golkow Technologies, Inc.                                                Page 1
Case 2:14-md-02592-EEF-MBN Document 5113-27 Filed 01/20/17 Page 3 of 7
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

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 25    ALSO PRESENT:       MELISSA BARDWELL, VIDEOGRAPHER

Golkow Technologies, Inc.                                                Page 2
Case 2:14-md-02592-EEF-MBN Document 5113-27 Filed 01/20/17 Page 4 of 7
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  1    questions?      Do you understand that?
  2           A.    Yes, sir.
  3           Q.    Then my question is simple.           Why didn't
  4    you include this list in your expert report?
  5           A.    I wasn't aware -- I wasn't aware that
  6    that's the protocol.         But to be fair, this is
  7    literature that I've been reading which substantiate
  8    my personal findings.         I work in the emergency
  9    department 20 days a month.           Okay?    When I have a
 10    patient with a brain bleed due to Xarelto, or a GI
 11    bleed, or whatever have you, secondary to Xarelto,
 12    there's not a power plan I can trigger.              There's not
 13    an order I can enter which allows me to measure,
 14    monitor and evaluate the coagulation status for the
 15    patient.     That's just the way it is.
 16                 This is beyond reading all these articles.
 17    The issue is -- you're asking me what my opinion is,
 18    and my opinion is, to date, I cannot order a test
 19    that allows me to monitor, measure, evaluate the
 20    drug, and there's not an antidote which fully
 21    reverse the medication.          That is my expert medical
 22    opinion.
 23                 This is what I've been reading since I was
 24    asked if I would render my medical expert opinion.
 25    My medical expert opinion is 100 percent independent

Golkow Technologies, Inc.                                            Page 24
Case 2:14-md-02592-EEF-MBN Document 5113-27 Filed 01/20/17 Page 5 of 7
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

  1    know, yes, your wife takes Xarelto, but might have
  2    skipped a dose because the level is zero, we can
  3    proceed with the operation; or, yes, your wife took
  4    Xarelto, your level is high, but we have an antidote
  5    which is going to slow down the progression of the
  6    bleed and give her a chance to live.             Those are the
  7    things that -- those are the things that we need in
  8    order for this drug to meet its full potential.
  9                 Again, it's a great drug, yes.           If you
 10    don't have an adverse reaction, it's fantastic, but,
 11    unfortunately, when you do, there's nothing you can
 12    do.    And I hate to say it again.          There's no lab
 13    assay that tells me when the patient took the
 14    medication, how much of the medication is in the
 15    system, how the kidney dysfunction is affecting the
 16    level of the medication in the blood.              These are all
 17    serious consideration that, as human beings, we need
 18    to come to grasp with and do something about.
 19           Q.    Here's my question:        Please listen to it
 20    carefully.      What do the medical records that you
 21    reviewed say about the last time that Mrs. Orr took
 22    a Xarelto pill?
 23           A.    I don't recall.
 24           Q.    I want you to go down for a few sentences
 25    that starts off with the word "meanwhile" on that

Golkow Technologies, Inc.                                           Page 147
Case 2:14-md-02592-EEF-MBN Document 5113-27 Filed 01/20/17 Page 6 of 7
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  1           R E P O R T E R ' S        C E R T I F I C A T E
  2                 This transcript is valid only for a
  3    transcript accompanied by my original signature and
  4    original required seal on this page.
  5                 I, Leslie B. Doyle, Certified Court
  6    Reporter (LA Certificate #93096), in and for the
  7    State of Louisiana, as the officer before whom this
  8    testimony was taken, do hereby certify that GIANLUCA
  9    CERRI, M.D., FACEP, FAAEM, after having been duly
 10    sworn by me upon authority of R.S. 37:2554, did
 11    testify as herein before set forth in the foregoing
 12    314 pages; that this testimony was reported by me in
 13    the stenotype reporting method, was prepared and
 14    transcribed by me or under my personal direction and
 15    supervision, and is a true and correct transcript to
 16    the best of my ability and understanding; that the
 17    transcript has been prepared in compliance with
 18    transcript format guidelines required by statute or
 19    by rules of the board, that I have acted in
 20    compliance with the prohibition on contractual
 21    relationships, as defined by Louisiana Code of Civil
 22    Procedure Article 1434 and in rules and advisory
 23    opinions of the board.
 24                 I further certify that I am not related to
 25    counsel or to the parties herein, nor am I otherwise

Golkow Technologies, Inc.                                           Page 315
Case 2:14-md-02592-EEF-MBN Document 5113-27 Filed 01/20/17 Page 7 of 7
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  1    interested in the outcome of this matter.
  2                 Signed this ___ day of __________, 2016.
  3

  4

  5                  ______________________
  6                  LESLIE B. DOYLE, RPR, RMR, RDR

                     Certified Court Reporter
  7                  LA Certificate #93096
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Golkow Technologies, Inc.                                           Page 316
